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                            UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF CALIFORNIA



                        ARREST ON O UT-OF-DISTRICT OFFENSE
                                                                             '22 MJ0734
                                                       CASE NUMBER: _ _ _ _ _ _ _ __

       The person charged as JOSE MANUEL PEREZ, now appears before this United States

District Court for an initial appearance as a result of the following charges having been filed in

the United States District Court for the Central District of California with: Conspiracy to

Smuggle Goods into the United States and Wildlife Trafficking, in violation of 18 U.S.C.

Sections 37 1 and 545; and Title 16 U.S.C. Sections 3372(a)(l ), and 3373(d)(l)(B).

       The charging documents and warrant for the arrest of the defendant which was issued by

the above United States District Court are attached hereto.

       I hereby swear under penalty of perjury that the foregoing is true and correct to the best of

my knowledge, information and belief.


                          >I
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       DATED:
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                              -~  ---

                                                      Tara Walker, Special Agent
                                                      United States Fish and Wildlife Service




Lauren G. La uff
Assistant United States Attorney
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                              CASE NUMBER:

                                            PLAINTIFF,                     2:22-cr-00057-f'MO

                                  V.
 JOSE MANUEL PEREZ,
 aka Julio Rodriguez                                                      WARRANT FOR ARREST
                                            DEFENDANT

 To:       UN ITED STATES MARSHAL AND ANY AUTHORIZED UN ITED STATES OFFICER

 YOU ARE HEREBY COMMANDED to arrest JOSE MANUEL PEREZ, aka
 "Julio Rodriguez," and bring him forthwith to the nearest Magistrate Judge to answer
 an Indictment charging him with Conspiracy, in violation of Title 18, United States
 Code, Section 371; Smuggling Goods Into the United States, in violation of Title 18,
 United States Code, Section 545; and Wildlife Trafficki ng, in violation of Title 16,
 United States Code, Sections 3372(a)(l) and 3373(d)( l )(B).




 Kiry K. Gray
 NAME OF ISSUING OFFICER
                                                                          February 24, 2022           Los Angeles, CA
 Clerk of Court                            f~~,.0,.,,..\
 TITLE OF ISSUING OFFICER                                                 DATE AND LOCATION OF ISSUANCE

   JOIIANIE BANEGAS                    ~\;             f )l            By: MARJA A. AUDERO
-S-
  IG
   -N-ATU_R_E_OF_D_E_PU_T_Y_CL-E-RK___  =-- 'effJ"                        NAME OF JUDICIAL OFFICER
                                        -.._.,,.OCT di

                                                              RETU R

 THIS WARRANT WAS RECEIVED AND EXECUTED WITH THE ARREST OF THE ABOVE-NAMED DEFENDANT AT (LOCATION)




 DATE RECElVED                                                            NAME OF ARRESTING OFFICER


 DA TE OF ARREST                                                          T ITLE


 DESCRIPTIVE I NFORMATION FOR DEFENDANT                                   SIGNATURE OF ARRESTING OFFICER
 CONTAINED ON PAGE TWO




CR-1 2 (08/l 0)                                   WARRA T FOR ARREST                                          Page I of2
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 7                                                                   BY:        .18        DmrrY



 8                             UNITED STATES DISTRICT COURT

 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 Jun e 2021 Grand Jury

11   UNITED STATES OF AMERICA ,               CR   2 : 22 - cr- 00057-FMO

12              Plaintiff ,                   I N D I C T ME N T
13              v.                            [18 U. S . C . § 371 : Conspiracy ; 18
                                              U. S . C . § 545 : Smuggling Goods into
14   JOSE MANUEL PEREZ ,                      the United States ; 16 U. S . C .
       aka "Julio Rodriguez ," and            §§ 3372(a)(l) , 3373(d)(l)(B) :
15   STEPHANY PEREZ ,                         Wildlife Trafficking ; 18 U. S . C .
                                              §§ 981(a)(l)(C) , 982(a)(2)(B) , 28
16              Defendants .                  U. S . C . § 2461(c) , and 16 U. S . C .
                                              § 3374(a) (1) : Criminal Forfeiture]
17

18        The Grand Jury charges :

19                               INTRODUCTORY ALLEGATIONS

20        At times relevant to this Indictment :

21   A.   THE DEFENDANTS AND CO- CONSPIRATORS

22        1.       Defendant JOSE MANUEL PEREZ , also known as "Julio

23   Rodriguez "     (" JOSE PEREZ" ) , was a resident of Missouri and then

24   Oxnard, Cal i fornia , who was in the business of buying and selling

25   reptiles and amphibians , including protected and endangered species

26   of each.

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 1         2.      Defendant STEPHANY PEREZ was defendant JOSE PEREZ ' s sister

 2   and also a resident of Oxnard , California .     She assisted defendant

 3   JOSE PEREZ in c a rrying out the illicit trade in smuggled wildlife.

 4         3.      Co-conspirator #1 was a Mexican national residing in

 5   Mexico .   Co- conspirator #1 was in the business of selling protected

 6   and endangered wildlife to customers in the United States and

 7   elsewhere .     Co- conspirator #1 used social media to advertise live

 8   animals for sale , negotiate a price for the animals , and arrange with

 9   co-conspirators for the transport of the purchased animals to Juarez,

10   Mexico , and then to the United States for delivery to customers ,

11   including the defendants .

12         4.      Co-conspirator #2 was a United States resident residing in

13   El Paso , Texas , working with the defendants and Co-conspirator #1 as

14   a middleman to smuggle protected and endangered wildlife from Mexico

15   to t he United States .    After Co- conspirator #1 transported animals to

16   Juarez , Co- conspirator #2 retrieved the animals in Juarez , drove them

17   into the United States in h i s car , and then shipped them to the

18   buyers .

19         5.      Co- conspirator #3 was a Mexican national residing in

20   Juarez , Mexico , working as a middleman with the defendants and Co-

21   conspirators #1 and #2 to smuggle protected and endangered wildlife

22   from Mexico to the United States.      Co- conspirator #3 retrieved the

23   wildlife delivered to Juarez , Mexico , and delivered it to Co-

24   conspirator #2 at a pre- determined location on the Mex i can side of

25   the United States border .

26         6.      Co-conspirator #4 was a United States resident residing in

27   Indiana and Florida , who purchased smuggled wildlife from the co-

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 1   conspirators , and who assisted the co-conspirators in selling
 2   smuggled wi ldlife .

 3           7.     Co-conspi r ator #5 was defenda nt JOSE PEREZ's girlfriend and

 4   also a resident of Oxnard , Californi a .       Like defendant STEPHANY

 5   PEREZ , Co- conspirator #5 assisted defendant JOSE PEREZ in carr ying

 6   out the illicit trade in smuggled wildlife .

 7   B.      BACKGROUND ON THE REGULATION OF TRADE IN ENDANGERED SPECIES

 8           8.     The Convention on International Trade in Endangered Species

 9   of Wild Flo r a and Fa una (" CITES u ) was an international agreement

10   among approx imately 183 governments , including the United States and

11   Mexico , to protect fish , wildlife , and plants that a re , or may

12   become , threatened with extinction .        CITES established import and

13   export restrictions to protect these species from overexploitation

14   through international trade .

15           9.     Under CITES , species are protected according to a

16   classification s ystem known as " appendices .u       International trade in

17   species listed in these appendices is monitored and regulated by

18   permits and quotas .      The permit restrictions apply to live and dead

19   specimens , as well as the skins , parts , and products made in whole or

20   in part from a listed species .
21           10 .   Wildlife and plant spec i es listed in Appendix I of CITES

22   are threatened with extinction .       Those listed in Appendix II of CI TES

23   include species that are not presently threatened with extinction but

24   may become so if their trade is not regulated .         Appendi x II species

25   may be allowed in trade ; however , they are strictly regulated and

26   monitored .      To import an Appendix II species into the United States ,

27   the exporter mus t obtain a valid "foreign export permit ," issued by

28   the specimen' s country of origin, prior to importation .         Appendix III

                                              3
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 1   of CITES includes wildlife and plant species listed by CITES member

 2   countries as being in need of international trade controls to prevent

 3   unsustainable or illegal exploitation of the species .                         International

 4   trade in such species i s allowed only on presentation of the

 5   appropriate permits or certificates .

 6          11 .   In the United States , CITES is implemented through the

 7   Endangered Species Act (" ESA" ) .            See 16 U. S . C . §§ 1537a , 1538(c) .

 8   The U. S . Fish and Wildlife Service ( "USFWS" ) is authorized to issue ,

 9   and has issued , regulations under the ESA incorporating the specific

10   permit requirements and provisions of CITES .                    16 U. S . C . § 1540(f) ; 50

11   C . F . R . Part 23 .   The ESA and its i mplementing regulations make it

12   unlawful for anyone to engage in trade in any specimens contrary to

13   CITES or to possess any specimens traded contrary to CITES .                         16

14   U. S . C. § 1538(c) (1) ; 50 C . F . R § 23 . 13(a) and (c) .           "Trade" includes

15   importation into the United States .                50 C . F . R. § 23 . 5 .

16          12 .   All wildlife imported into the United States must be

17   declared to the USFWS .          A true and complete declaration Form 3-177 ,

18   Declaration for Importation or Exportation of Fish or Wi ldlife , must

19   be filed at or before the time of importation .                    16 U. S . C. § 1538(e) ;

20   50 C . F . R. § 14 . 61 .   Federal regulations also require that the USFWS

21   clear all wildlife imported into the United States , and that the

22   importer or his agent make available the wildlife being imported to

23   the off i cer, as well as all required permits, licenses , or other

24   documents .      50 C . F . R. § 14 . 52 .   The wildlife may only be cleared at

25   certain ports authorized in the regulations , unless specifically

26   authorized elsewhere .          SO C . F . R . § 14 . 11 .

27          13 .   The federal wildlife protection statute known as the Lacey

28   Act is found at Title 16, United States Code , Section 3371 et seq.

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 1   The Lacey Act makes it unlawful for any person to import , export ,

 2   sell , receive , acquire , or purchase any fish or wildlife or plant

 3   taken , possessed, transported, or sold in violation of any law ,

 4   treaty , or regulation of the United States .      16 U. S . C. § 3372 {a ) (1 ) .

 5        14 .   Abronia is a genus of lizards found in Mexico and

 6   throughout Central America and northeastern South America .            Almost

 7   the entire genus is listed in CITES Appendix II , including Abronia

 8   graminea.      Five species , including Abronia fimbriata , are listed i n

 9   CITES Appendix I .

10        15 .   Terrapene nelsoni {spotted box turtle) , Terrapene carolina

11   mexicana {Mexican box turtle ) , and Terrapene carolina yucatana

12   {Yucatan box turtle) are endemic to Mexico and listed in CITES

13   Appendix II .

14        16 .   Heloderma horridum (Mexican beaded lizards) are found in

15   Mexico and are listed in CITES Appendix II .

16        17.    All Crocodiles (Crocodillus) throughout the world are

17   listed in CITES Appendix II .

18        18 .   Platysternon megacephalum {Big Heade d turtles) are found in

19   Asia and are listed in CITES Appendix I .

20        19 .   Sacalia quadriocellata (four - eyed turtles ) , Carettochelys

21   insculpta (Fly River turtles) , and Geoemyda spengleri {Black Breasted

22   Hill turtles) are found in Asia and are listed in CITES Appendix II .

23        20 .   Mauremys reeves i i   (Reeves turtles) are found in Asia and

24   are listed in CITES Appendix III .

25        21 .   These Introductory Allegations are hereby re - alleged and

26   incorporated by reference into each and every count of this

27   Indictment .

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 1                                        COUNT ONE

 2                                  (18   u. s . c . §   371)

 3                                  [ALL DEFENDANTS]

 4   A.   OBJECTS OF THE CONSPIRACY

 5        Beginning on a date unknown to the Grand Jury , but no later than

 6   January 201 6 , and continuing through at least June 2021 , in Ventura

 7   County , within the Central District of California , and elsewhere ,

 8   defendants JOSE PEREZ and STEPHANY PEREZ , together with others known

 9   and unknown to the Grand Jury , including Co- conspirators #1 , #2 , #3 ,

10   #4 , and #5 , conspired to :

11        1.    Fraudulently and knowingly import and bring into the United

12   States merchandise , namely wildlife , including CITES- protected

13   wildlife , contrary to laws and regulations of the United States , and

14   receive , conceal , buy , sell , and in any manner facilitate the

15   transportation , concealment , and sale of such merchandise after

16   importation, knowing the same to have been imported and brought into

17   the United States contrary to laws and regulations of the United

18   States , in violation of Title 18 , United States Code , Section 545 .

19        2.    Knowingly engage in conduct that involved the sale and

20   purchase of , the offer of sale and purchase of , and the intent to

21   sell and purchase wi ldlife with a market value of more than $350 , and

22   import , export, t r ansport , sell , receive, acquire , and purchase

23   wildlife , knowing that such wildli fe was transported , that is

24   imported and exported , in violation of laws , treaties , and

25   regulations of the United States , in violation of Title 16 , United

26   States Code , Sections 3372{a) (1) and 3373(d) (1) {B) .

27        3.    Defraud the United States or one or more of its agencies or

28   departments of and concerning its lawful governmental functions and

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 1   rights , that is , impede , impair , obstruct, and defeat , by deceitful

 2   and dishonest means , the lawful and legitimate functions of the OSFWS

 3   and Onited States Customs and Border Protection in investigating and

 4   enforcing federal laws and regulations related to wildlife

 5   traffic k ing , international trade , and border management , in violation

 6   of Title 18, Onited States Code , Section 371 .

 7   B.    MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

 8         ACCOMPLISHED

 9         The objects of the conspiracy were to be accomplished , in

10   substance , as follows :

11         1.   Defendant JOSE PEREZ and his co-conspirators would use

12   social media to purchase wildlife and to negotiate the terms of the

13   sale and delivery of said wildlife in the Onited States without

14   obtaining the requisite CITES permits and without declaring any

15   wildlife imported into the Onited States .

16         2.   Defendant JOSE PEREZ and Co-conspirator #1 would agree to a

17   sale of wildlife , and then Co-conspirator #1 would arrange for the

18   wildlife to be transported from locations within Mexico to Juarez ,

19   Mexico .

20         3.   Co - conspirator #3 would retrieve from the Juarez airport

21   the wildlife that defendant JOSE PEREZ purchased from Co-conspirator

22   #1 and then deliver the wildlife to Co-conspirator #2 at a

23   prearranged place in Juarez , Mexico .

24         4.   Defendant JOSE PEREZ and Co-conspirator #3 would provide

25   shipping labels to Co-conspirator #2, bearing addresses in the United

26   States, including defendant JOSE PEREZ's address, to which Co-

27   conspirator #2 arranged for the wildlife to be delivered.

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 1        5.      Co-conspirator #2 would transport the wildlife in his car

 2   from Juare z, Mexico , to his res i dence in El Paso , Texas , without

 3   obtaining the requisite CITES permits , without declaring the wildlife

 4   to U . S . auth orities , and without transporting the wildlife through a

 5   designated port of entry .

 6        6.      Defendant JOSE PEREZ , along with others who purchased

 7   wildlife from Co-conspirator #1 , would pay Co-conspirator #2 a

 8   " crossing fee " for each border crossing , the amount of which depended

 9   on the number of animals transported , the size of the package(s), and

10   the risk of being detected by the authorities .

11        7.      After transporting the animals into the United States , Co-

12   conspirator #2 would ship the live animals to defendant JOSE PEREZ in

13   Missouri and , later , California .

14        8.      Defendant JOSE PEREZ would import wildlife smuggled from

15   Hong Kong into the United States , without declaring the wildlife to

16   U . S . authorities , and without the requisite CITES permits ,   for the

17   purpose of selling the wildlife to customers in the United States .

18         9.     For some of the wildlife that had been smuggled into the

19   United States , defendant JOSE PEREZ would export the wildlife to

20   customers in other countries without declaring the wildlife to U . S .

21   authorities , and without the requisite CITES permits .

22         10 .   Defendant STEPHANY PEREZ and Co- conspirators #4 and #5

23   would assist defendant JOSE PEREZ in the purchase and sale of

24   smuggled wildlife by receiving , transporting , acquiring , and shipping

25   animals , as wel l as arranging payment for animals purchased and

26   receiving payment for animals sold ,      including when defendant JOSE

27   PEREZ was incarcerated between on or abou t August 25 , 2016 , and April

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 1   9 , 2018 , and between on or about November 4 , 2018 , and October 23,

 2   2019 .

 3            11 .   Defendant STEPHANY PEREZ and Co-conspirator #5 would use

 4   electronic payment application accounts that they controlled,

 5   including defendant STEPHANY PEREZ ' S PayPal account and Co-

 6   conspirator #S ' s Venmo account , to pay for wildlife purchased and

 7   receive money for wildlife sold by defendant JOSE PEREZ .

 8            12 .   Defendant JOSE PEREZ and Co-conspirator #5 would travel

 9   from California to Mexico to acquire additional live animals that had

10   been taken from the wild so that the animals could be transported

11   into the United States, without obtaining the requisite CITES

12   permits , without declaring the wildlife to U. S . authorities, and

13   without transport i ng the wildlife through a designated port of entry .

14            13 .   Defendants JOSE PEREZ and STEPHANY PEREZ , and Co -

15   conspirator #5 would advertise for sale on social media the animals

16   smuggled and intended to be smuggled from Mexico into the United

17   States , posting photos and video that depicte~ the animals being

18   collected from the wild .

19            14 .   Defendants JOSE PEREZ and STEPHANY PEREZ, and Co-

20   conspirator #5 would cause the illegal importation of wildlife ,

21   specifically, more than 1 , 700 animals , into the United States with a

22   total market value exceeding $739, 000 .

23            15 .   Defendant JOSE PEREZ would use an alias , " Julio Rodriguez, "

24   in order to conceal his participation in the unlawful scheme .

25            16 .   Defendant STEPHANY PEREZ and Co-conspirator #5 would refer

26   to defendant JOSE PEREZ as " Julio Rodriguez " in their business

27   dealings , even though they knew the true name of their brother and

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 1   boyfriend, respectively, was defendant JOSE PEREZ , in order t o

 2   conceal his role in the unl awful scheme .

 3   C.    OVERT ACTS

 4         On or about the fo ll owing dates , in furtherance of the

 5   conspiracy and to accomplish the objects of the conspiracy,

 6   defendants JOSE PEREZ and STEPHANY PEREZ, and others known and

 7   unknown to the Grand Jury , including Co - conspirators #1, #2, #3, #4,

 8   and #5 , committed various overt acts within the Central District of

 9   California and e l sewhere , including, but not limited to , the

10   fo l lowing :

11         Overt Act No . 1 :   On or about January 14, 2016, Co-conspirator

12   #2 electronically messaged defendant JOSE PEREZ regarding a sale of

13   lizards and turtles , writing, "For abronias [ lizards] , the crossing

14   is $110 , so for tomorrow ' s shipping, we are talking $320, total .ff

15         Overt Act No . 2 :   On or about January 14, 2016, defendant JOSE

16   PEREZ responded to Co-conspirator #2 , writing , "Really, I don ' t

17   understand why the turtles shipping is 1 50 .     I thought I a l ready paid

18   550 for the crossing plus the actual shipping.ff

19         Overt Act No . 3 :   On or about January 14 , 2016 , Co-conspirator

20   #2 responded to defendant JOSE PEREZ , writing , "No, to cross the tres

21   lomos [turtles] was quite an ordeal and then I was not expecting

22   those 12 chopos [turtles] . I had to make 3 trips . The box is quite

23   heavy and , on top of that, those chopos bite hard . I had to improvise

24   yesterday with all the animals . Those 2 tres l omos are big and heavy,

25   so let ' s play by the rules . I really risk a lot by crossing things .

26   Yesterday , it was pretty scary with those 2 monsters .ff

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 1        Overt Act No . 4 :     On or about January 14 , 2016 , defendant JOSE

 2   PEREZ caused a MoneyGram payment in the amount of $550 for smuggled

 3   wildlife to be sent to Co-conspirator #2 .

 4        Overt Act No . 5 :     On or about January 15 , 2016 , defendant JOSE

 5   PEREZ caused a MoneyGram payment in the amount of $320 for smuggled

 6   wildlife to be sent to Co-conspirator #2 .

 7        Overt Act No . 6 :     On or about January 25 , 2016 , defendant JOSE

 8   PEREZ and Co- conspirator #2 electronically messaged each other about

 9   the transportation of turtles and monitor lizards from Juarez ,

10   Mexico , into the United States .

11        Overt Act No . 7 :     On or about January 25 , 2016 , Co- conspirator

12   #2 transported the turtles from Mexico into the United States .

13        Overt Act No . 8 :     On or about January 25 , 2016 , Co-conspirator

14   #2 shipped the turtles from Texas to an address in Missouri for

15   defendant JOSE PEREZ , using a shipping label that defendant JOSE

16   PEREZ had provided to Co-conspirator #2 .

17        Overt Act No . 9 :     On or about August 1 , 2016 , defendant JOSE

18   PEREZ electronically messaged Co- conspirator #2 regarding the

19   transportation of turtles and baby crocodiles , to be picked up from

20   Juarez , Mex ico , and transported into the United States by Co-

21   conspirator #2 , writing , " Amigo , tomorrow 2 : 00? "

22        Overt Act No . 10 :    On or about August 1 , 2016 , defendant

23   STEPHANY PEREZ electronically transferred $400 to Co- conspirator #2 ,

24   which was the crossing fee for the transportation of turtles and baby

25   crocodiles from Mexico into the United States and for the subsequent

26   shipping of said wildlife to defendant JOSE PEREZ .

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 1        Overt Act No . 11 :            On or about August 2 , 2016 , Co- conspirator

 2   #2 responded to defendant JOSE PEREZ , wri ting, "Yes. Please make sure

 3   [ Co-conspirator #3] is on time ."

 4        Overt Act No. 12 :             On or about August 2 , 2016 , defendant JOSE

 5   PEREZ responded to Co-conspirator #2 , writing , " Will do amigo .              I ' ll

 6   make the shipping label right now .               It ' s 4 box turtles they are a

 7   diffe r ent species Nelsoni not bulky like the other ones and not as

 8   heavy ."

 9        Overt Act No . 13 :            On or about August 2 , 2016 , Co- conspirator

10   #2 responded to defendant JOSE PEREZ regarding the crossing fee,

11   writing , " $500 ."

12        Overt Act No . 14 :            On or about August 2 , 2016 , defendant JOSE

13   PEREZ responded to Co-conspirator #2 , writing , " Can we do 400 amigo?

14   I will have 2 more similar trips this week also . "

15        Overt Act No . 15 :            On or about August 2 , 2016 , Co- conspirator

16   #2 responded to defendant JOSE PEREZ , writing , " Turtles are always

17   high risk .     Ok , $400 . 00 ."

18        Overt Act No . 16 :            On or about August 2 , 2016 , defendant JOSE

19   PEREZ responded to Co - conspirator #2 , writing , " Just told Me [my]

20   sister to send [money] .            Label [shipping] sent as well. "

21         Overt Act No . 17 :           On or about August 2 , 2016 , Co- conspirator

22   #2 responded to defendant JOSE PEREZ , writing , " I am back, but I had

23   a real ly close call today .           I was stopped and searched by the US

24   Customs .     Thank God they found nothing ."

25         Overt Act No . 18 :           On or about August 2 , 2016 , defendant JOSE

26   PEREZ responded to Co-conspirator #2 , writing , "Wow thank god ."

27         Overt Act No . 19 :           On or about August 2 , 2016 , Co-conspirator

28   #2 responded to defendant JOSE PEREZ , writing , " That is why I always

                                                  12
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1    tell you turtles are risky .      They are bulky .   I got nervous today ,

2    but I k ept my cool ."

3         Overt Act No . 20 :      On or about August 2 , 2016 , defendant JOSE

 4   PEREZ responded to Co - conspirator #2 , writing , " I ' ll try and keep it

 5   to smaller stuff from now on . "

 6        Overt Act No . 21 :      On or about August 2 , 2016 , Co-conspirator

 7   #2 shipped , via UPS ,   the turtles and other wildlife from El Paso ,

 8   Texas , to defendant JOSE PEREZ in Missouri using a shipping labe l

 9   that defendant JOSE PEREZ had provided to Co - conspirator #2 .

10        Overt Act No . 22 :      On or about August 26 , 2016 , Co - conspirator

11   #4 agreed to drive from Florida to defendant JOSE PEREZ ' s house in

12   Missouri to assist with the sale of turtles to third parties .

13        Overt Act No . 23 :      On or about August 27, 2016 ,   following

14   defendant JOSE PEREZ ' s instructions , Co-conspirator #4 retrieved the

15   turtle s from defendant JOSE PEREZ ' s house in Missouri and transported

16   the turtles to Fl orida so that Co- conspirator #4 could ship the

17   turtles to defendant JOSE PEREZ ' s customers and send the proceeds to

18   defendant STEPHANY PEREZ ' S PayPal account on defendant JOSE PEREZ ' s

19   behalf .

20         Ove r t Act No . 24 :   On or about August 29 ,   2016 , during a

21   telephone conversation, defendant JOSE PEREZ instructed his wife to

22   ship three Terrapene nelsoni (spotted box turtles) to a buyer in

23   Spain, which she shipped later that day .

24         Overt Act No . 25 :     On or about November 15 , 2016 , during a

25   telephone conversation, defendant JOSE PEREZ informed defendant

26   STEPHANY PEREZ to expect a $3 , 000 payment from Co-conspirator #4 for

27   the animals that Co- conspirator #4 sold on behalf of defendant JOSE

28   PEREZ .

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1         Overt Act No . 26 :    On or about February 24 , 2017 , during a

2    telephone conversation, defendant JOSE PEREZ advised defendant

3    STEPHANY PEREZ to read Stolen World, a book about the business of

 4   smuggling snakes , to educate her on how to smuggle animals and make

 5   money from doing so .

 6        Overt Act No . 27 :    On or about July 6 , 2017 , during a telephone

 7   conversation, defendants JOSE PEREZ and STEPHANY PEREZ discussed

 8   $4 , 000 that defendant STEPHANY PEREZ received in her PayPal account

 9   from Co- conspirator #4 for animals Co - conspirator #4 sold on behalf

10   of defendant JOSE PEREZ , and defendant JOSE PEREZ ' S belief that Co-

11   conspirator #4 owed them substantially more money for those animals .

12        Overt Act No . 28 :    On or about August 8 , 2017 , acting upon

13   instruction from defendant JOSE PEREZ , defendant STEPHANY PEREZ

14   directed Co- conspirator #4 to ship the unsold animals (from those Co-

15   conspirator #4 had retrieved from defendant JOSE PEREZ ' S house in

16   Missouri on or about August 27 , 2016) to defendant JOSE PEREZ's

17   mothe r' s house in Oxnard, California .

18         Overt Act No. 29 :    On or about April 26 , 2018 , Co- conspirator

19   #2 smuggled Yucatan box turtles into the United States from Mexico .

20         Overt Act No . 30 :   On or about April 27, 2018, defendant JOSE

21   PEREZ caused Co- conspirator #2 to ship the smuggled Yucatan box

22   turtles from El Paso , Texas to defendant JOSE PEREZ ' S mother in

23   Oxnard , California .

24         Overt Act No . 31 :   On or about and between May 2 , 2018 , and May

25   9 , 2018 , defendant JOSE PEREZ imported approximately 30 turtles of

26   various species from Hong Kong to Oxnard , California , without making

27   the required declaration , and without the required import papers .

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1         Overt Act No . 32 :    On or about May 17 , 2018 , defendant JOSE

2    PEREZ electronically messaged a cooperating private i ndividual

3    (" CPi n ) an offer to sell turtles and "abronia u (lizards) for a total

4    of $2 , 100 and instructed the CPI to send the money for the animals to

5    defendant STEPHANY PEREZ ' s PayPal account .

 6        Overt Act No . 33 :    On or about May 19 , 2018 , defendant JOSE

 7   PEREZ caused a payment of $2 , 100 to be sent from the CPI to defendant

 8   STEPHANY PEREZ ' S PayPal account .

 9        Overt Act No . 34 :    On or about May 22, 2018 , Co-conspirator #2

10   smuggled Yucatan box turtles into the United States from Mexico .

11        Overt Act No . 35 :    On or about May 22 , 2018 , defendant JOSE

12   PEREZ caused Co- conspirator #2 to ship the smuggled Yucatan box

13   turtles from El Paso , Texas to defendant JOSE PEREZ ' s mother in

14   Oxnard, California.

15        Overt Act No . 36 :    On or about May 23 , 2018 , defendant JOSE

16   PEREZ caused the turtles and lizards he sold to the CPI to be shipped

17   from Oxnard, California to the CPI in Iowa .

18        Overt Act No . 37 :    On or about May 24 , 2018 , defendant JOSE

19   PEREZ sent the CPI an image of a FedEx shipping label , indicating

20   that he had shipped the animals .
21         Overt Act No . 38 :   On or about May 25 , 2018, responding to an

22   electronic message from the CPI stating that all of the turtles had

23   died , defendant JOSE PEREZ stated "Really f*** man that sucks they

24   all died?   No they were doing good when I had them.       I can ' t believe

25   they all just died in 1 shot .u
26         Overt Act No . 39 :   On or about September 26 , 2018 , Co-

27   conspirator #2 smuggled Yucatan box turtles and crocodiles into the

28   United States from Mexico .
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1         Overt Act No . 40 :    On or about September 27 , 2018 , defendant

2    JOSE PEREZ caused Co-conspirator #2 to ship the smuggled Yucatan box

3    turtles and crocodiles from El Paso , Texas to defendant STEPHANY

4    PEREZ in Oxnard , California .

5         Overt Act No . 41 :    On or about October 7 , 2018 , Co-conspirator

 6   #2 smuggled spotted box turtles into the United States from Mexico .

 7        Overt Act No . 42 :    On or about October 8 , 2018 , defendant JOSE

 8   PEREZ caused Co- conspirator #2 to ship the smuggled spotted box

 9   turtles from El Paso , Texas to defendant STEPHANY PEREZ in Oxnard,

10   California .

11        Overt Act No . 43 :    On or about and between October 15 , 2018 ,

12   and October 18 , 2018 , Co-conspirators #1 and #2 e lectronically

13   messaged each other about how much Co-conspirator #2 would charge to

14   cross three heloderma (lizards) and three Mexicana (turtles) for

15   defendant JOSE PEREZ , and they agreed on a price of $350 for the

16   crossing of the animals from Mexico into the United States .

17        Overt Act No . 44 :    On or about October 17, 2018 , Co-conspirator

18   #1 electronically messaged Co- conspirator #2 and informed Co-

19   conspirator #2 that he had sent animals to Co-conspirator #2 on

20   behalf of defendant JOSE PEREZ .

21         Overt Act No . 45 :   On or about October 17 , 2018 , defendant JOSE

22   PEREZ electronically messaged Co-conspirator #2 to confirm that Co-

23   conspirator #1 had sent to Co - conspirator #2 the lizards and turtles

24   that defendant JOSE PEREZ had purchased.

25         Overt Act No . 46 :   On or about October 18 , 2018 , Co-conspirator

26   #2 electronically messaged defendant JOSE PEREZ and i nformed

27   defendant JOSE PEREZ that Co-conspirator #2 was unable to cross the

28   animals that defendant JOSE PEREZ had purchased .

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1         Overt Act No . 47 :    On or about October 19 , 2018 , Co-conspirator

2    #2 told Co- conspirator #1 that he was not able to cross the animals

3    because there were six turtles and he was expecting only three

4    t u rtles and three lizards, and that the crossing would now cost $400 .

 5        Overt Act No . 48 :    On or about October 19, 2018 , defendant JOSE

 6   PEREZ electronically messaged Co-conspirator #2 and instructed him to

 7   ship the animals on Monday .

 8        Overt Act No . 49 :    On or about October 19 , 2018 , Co- conspirator

 9   #2 responded to defendant JOSE PEREZ , writing that he [Co-consp irator

10   #2] could not guarantee the safety of the animals .

11        Overt Act No . 50 :    On or about October 19 , 2018 , defendant JOSE

12   PEREZ responded to Co - conspirator #2 , writing that Co-conspirator #2

13   should ship the animals for Saturday delivery .

14        Overt Act No . 51 :    On or about October 19 , 2018 , defendant JOS E

15   PEREZ electronically messaged Co- conspirator #2 , writing that he

16   [defendant JOSE PEREZ] had sent the shipping label for Saturday

17   delivery.

18        Overt Act No . 52 :    On or about and between October 19 , 2018 ,

19   and October 20 , 2018 , Co- conspirator #2 smuggled spotted box turtles

20   into the United States from Mexico .

21         Overt Act No . 53 :   On or about and between October 19 , 2018 ,

22   and October 20 , 2018, defendant JOSE PEREZ caused Co-conspirator #2

23   to ship the smuggled box turtles from El Paso , Texas to defendant

24   STEPHANY PEREZ in Oxnard, California .

25         Overt Act No . 54 :   On or about October 20 , 2018, defendant JOSE

26   PEREZ electronically messaged Co-conspirator #2 and informed him that

27   he [defendant JOSE PEREZ] would notify Co-conspirator #2 when the

28   animals arrived.
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1          Overt Act No . 55 :   On or about October 20 , 2018 , Co-conspirator

2    #2 electronically messaged defendant JOSE PEREZ and Co- conspirators

3    #1 and #3 , instructing defendant JOSE PEREZ not to post photos of

4    animals on social media , because an investigator had gone into the

5    shipping location used by Co-conspirator #2 to ask questions about

 6   Co-conspirator #2 shipping animals .

 7         Overt Act No. 56 :    On or about October 25 , 2018 , Co- conspirator

 8   #2 smuggled Mexican beaded lizards into the United States from

 9   Mexico .

10         Overt Act No . 57 :   On or about October 25 , 2018 , defendant JOSE

11   PEREZ caused Co-conspirator #2 to ship the smuggled Mexican beaded

12   lizards from El Paso, Texas to defendant STEPHANY PEREZ in Oxnard,

13   Californ i a .

14         Overt Act No . 58 :   On or about November 1 , 2018 , Co-conspirator

15   #2 smuggled Mexican box turtles into the United States from Mexico .

16         Overt Act No . 59 :   On or about November 1 , 2018 , defendant JOSE

17   PEREZ caused Co- conspirator #2 to ship the smuggled Mexican box

18   turtles from El Paso , Texas to defendant STEPHANY PEREZ in Oxnard,

19   California .
20         Overt Act No . 60 :   Between on or about November 8 , 2018 , and

21   November 30 , 2018 , during a telephone call , defendant JOSE PEREZ

22   informed defendant STEPHANY PEREZ about a potential purchase of

23   aerolatas (turtles) from Co-conspirator #1.
24         Overt Act No. 61 :    Between on or about November 8 , 2018 , and

25   November 30 , 2018 , during a telephone call , defendant JOSE PEREZ told

26   defendant STEPHANY PEREZ , " The business is running smooth .      I can run

27   the business from in here . "

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1         Overt Act No . 62 :    Between on or about November 8 , 2018, and

2    November 30 , 2018 , during a telephone call , defendant JOSE PEREZ

3    dictated to defendant STEPHANY PEREZ a text message that he wanted

4    her to send to an associate regarding the purchase of turtles for

5    $100 each .
 6        Overt Act No . 63 :    Between on or about November 8 , 2018 , and

7    November 30 , 2018 , during a telephone call , defendant JOSE PEREZ

 8   instructed defendant STEPHANY PEREZ how to carry out a sale of

 9   turtles to an associate for $3 , 000 , which would be sent to defendant

10   STEPHANY PEREZ .
11        Overt Act No . 64 :    Between on or about November 8 , 2018, and

12   November 30 , 2018 , during a telephone call , defendant JOSE PEREZ

13   discussed purchasing turtles with defendant STEPHANY PEREZ , and how

14   they were not able to send spotted box turtles to certain states and

15   that defendant STEPHANY PEREZ should request payment for the turtles

16   via Western Union .
17        Overt Act No . 65 :    Between on or about November 8 , 2018 , and

18   November 30 , 2018 , during a telephone call , defendant JOSE PEREZ

19   instructed another one of his sisters how to create shipping labels

20   for a shipment of turtles , and stated that their mother would pack

21   the turtles .
22         Overt Act No . 66 :   Between on or about November 8 , 2018 , and

23   November 30 , 2018 , during a telephone call , defendant JOSE PEREZ
24   directed defendant STEPHANY PEREZ to print out photographs of lizards

25   for defendant JOSE PEREZ to verify what was in the shipment from Co-

26   conspirator #1 .
27         Overt Act No . 67 :    Between on or about November 8 , 2018 , and

28   November 30 , 2018 , during a telephone call , defendant JOSE PEREZ
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1    instructed Co-conspirator #5 how it was very important for a shipment

2    of turtles to be sent immediately to a buyer in Spain, and how to

3    package the turtles.
4         Overt Act No . 68 :    Between on or about November 8 , 2018 , and

5    November 30 , 2018 , during a telephone call, defendants JOSE PEREZ and

 6   STEPHANY PEREZ discussed a number of topics regarding the sale and

7    shipment of turtles, including the death of turtles during shipping,

 8   instructions for defendant STEPHANY PEREZ to advertise the sale of

 9   baby turtles , and directions that she put some of the turtles in a

10   pillowcase to ship to Co- conspirator #1 and use the alias "Julio

11   Rodriguezu as the return address .
12        Overt Act No . 69 :    Between on or about November 8, 2018 , and

13   November 30 , 2018 , during a telephone call , defendant JOSE PEREZ

14   instructed defendant STEPHANY PEREZ how to export a shipment of

15   turtles to a purchaser in Spain .
16        Overt Act No . 70 :    Between on or about November 8 , 2018 , and

17   November 30 , 2018 , during a telephone call , defendant JOSE PEREZ

18   discussed with one of his sisters their mother's concern about the

19   suspicious nature of a shipment of turtles they were sending to a

20   customer , and whether the sister should tell their mother that the

21   shipment was " legal ."

22         Overt Act No . 71 :   On or about November 20 , 2018 , Co-

23   conspirator #2 smuggled Yucatan box turtles and common box turtles

24   into the United States from Mexico .
25         Overt Act No . 72 :   On or about November 20, 2018 , defendant

26   JOSE PEREZ caused Co-conspirator #2 to ship the smuggled Yucatan box

27   turtles and common box turtles from El Paso , Texas to defendant

28   STEPHANY PEREZ in Oxnard, California .
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 1        Overt Act No . 73 :     On or about December 4 , 2018 , Co-

 2   conspirator #2 smuggled Mexican beaded lizards into the United States

 3   from Mexico .

 4        Overt Act No . 74 :    On or about December 5, 2018 , defendant JOSE

 5   PEREZ caused Co- conspirator #2 to ship the smuggled Mexican beaded

 6   lizards from El Paso , Texas to defendant STEPHANY PEREZ in Oxnard,

 7   California .

 8        Overt Act No . 75 :    Between on or about December 1 , 2018 , and

 9   December 16 , 2018 , during a telephone call , defendant JOSE PEREZ

10   asked defendant STEPHANY PEREZ whether a shipment of turtles she

11   received from Co- conspirator #1 looked "big and healthy , n and said

12   that he owed Co- conspirator #1 approximately $7 , 000 .

13        Overt Act No . 76 :    Between on or about December 1, 2018 , and

14   December 16 , 2018 , during a telephone call , defendant JOSE PEREZ

15   instructed defendant STEPHANY PEREZ to make an audio recording of him

16   i n which he told a customer that he was "in rehab n and had lizards ,

17   which he had just smuggled from Mexico , at his house if the customer

18   was interested .

19        Overt Act No . 77 :    Between on or about December 1 , 2018 , and

20   December 16 , 2018 , during a telephone call , defendant STEPHANY PEREZ

21   informed defendant JOSE PEREZ that a customer was interested in

22   purchasing lizards for $16 , 000 , and that she attempted to take a

23   v i deo of the lizards to send to the customer before realizing that

24   she had lost one of the lizards in her house .

25        Overt Act No . 78 :    Between on or about December 1 , 2018 , and

26   December 16 , 2018 , during a telephone call , defendant JOSE PEREZ

27   instructed defendant STEPHANY PEREZ to take and send photographs of

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1    baby turtles to a customer, and to tell the customer that the turtles

2    were $400 each, which defendant JOSE PEREZ said was a cheap price .

3             Overt Act No . 79 :    Between on or about December 1 , 2018 , and

 4   December 16 , 2018 , during a telephone call , defendant STEPHANY PEREZ

 5   relayed a message from Co - conspirator #1 to defendant JOSE PEREZ , in

 6   which Co- conspirator #1 asked defendant JOSE PEREZ if he wanted to

 7   buy turt l es .
 8            Overt Act No . 80 :    Between on or about December 1 , 2018 , and

 9   December 16 , 2018 , during a telephone call , defendant JOSE PEREZ

10   directed defendant STEPHANY PEREZ to ask Co - conspirator #1 about the

11   status of " los negros "       (black bearded lizards) .

12            Overt Act No . 81 :    Between on or about December 1 , 2018 , and

13   December 16 , 2018 , Co- conspirators #1 , #2 , and #3 electronically

14   messaged each other regarding how defendant STEPHANY PEREZ would not

15   answer her phone , and that defendant STEPHANY PEREZ had to confer

16   with defendant JOSE PEREZ before she would make shipping labels for

17   them .

18            Overt Act No . 82 :    On or about July 7 , 2020 , defendant JOSE

19   PEREZ sold and caused to be shipped Mexican box turtles from

20   California to a customer in Georgia .
21            Overt Act No . 83 :    On or about July 9 , 2020 , defendant JOSE

22   PEREZ caused the customer in Georgia to send him $2 , 400 via PayPal as

23   payment for the Mexican box turtles .
24            Overt Act No . 84 :     On or about September 22 , 2020 , defendant

25   JOSE PEREZ sold and caused to be shipped Abronia lythrochila lizards

26   to a customer in Colorado .

27            Overt Act No . 85 :     On or about September 15 , 2020, and

28   September 23 , 2020 , defendant JOSE PEREZ caused the customer in

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 1   Colorado to send him $1 , 200 and $1 , 000 , respectively , via PayPal as

 2   payment for the Abronia lythrochila lizards .

 3        Overt Act No . 86 :     On or about October 30 , 2020 , defendant JOSE

 4   PEREZ caused Co- conspirator #5 to receive $1 , 060 via Venmo with the

 5   notation "Xl Female calico abronia Xl Male red calico abronia . n

 6        Overt Act No . 87 :     On or about January 16 , 2021, in a series of

 7   social media posts , after a potential buyer accused defendant JOSE

 8   PEREZ of offering wild- caught reptiles from Mexico for sale ,

 9   defendant JOSE PEREZ responded that the animals were being saved from

10   deforestation in Mexico so the animals were doomed anyway and should

11   be enjoyed by defendant JOSE PEREZ ' s customers .

12        Overt Act No . 88 :     On or about February 1 , 2021 , while

13   defendant JOSE PEREZ was in Mexico , he posted on social media

14   photographs of various species of turtles , which appeared to have

15   been taken from the wild .

16        Overt Act No . 89 :      On or about February 3 , 2021 , defendant

17   JOSE PEREZ posted on social media that he was on a trip to the

18   Yucatan , Campeche , and Cancun , Mexico , and wrote that he had not been

19   "able to get my hands on any Yucatan spiny tails or Campeche spiny

20   tail iguanas (too fast) , but I was able to get a better idea on how

21   to keep themu and posted photographs of an individual holding lizards

22   in front of pages from the book Amphibians and Reptiles of Northern

23   Guatemala, the Yucatan, and Belize that identified the species.

24        Overt Act No . 90 :      On or about March 3 , 2021 , while in Mexico

25   with Co- conspirator #5, defendant JOSE PEREZ advertised on social

26   media that he was "stokedu because he "was able to snatch up a group

27   of these Nicaraguan Mesaspis Moreletii or Abronia [lizards] . Even if

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1    I don ' t agree with it it ' s cool to add another Abronia to the list

2    I ' m working with making it number 16 !"

3          Overt Act No . 91 :      On or about May 7 , 2021 , defendant JOSE

4    PEREZ posted on a social media forum devoted to Abronia lizards that

5    critics of reptile smugglers " have no business keeping Abronia when

 6   you have something [negative ] to say about smuggled animals .           Doesn ' t

 7   matter i f yours were born in captivity. The parents more than likely

 8   were smu gg l ed isn' t   that pretty much the same . If it wasn ' t   for the

 9   guys that smuggled bearded dragons we wouldn ' t have all these morphs

10   and endless supply of bearded dragons . "

11         Overt Act No . 92 :       On or about June 15 , 2021 , defendant JOSE

12   PEREZ sent a message via Facebook Messenger to the CPI , offering to

13   sell two lizards (Abronia fimbriata)          for $2 , 500.

14         Overt Act No . 93 :      On or about June 18 , 2021 , defendant JOSE

15   PEREZ messaged the CPI and provided payment instructions for the

16   purchase of the lizards , specifically , the Venmo address for Co-

17   conspirator #5 .

18         Overt Act No . 94 :      On or about June 22 , 2021, defendant JOSE

19   PEREZ caused the shipment of two lizards (Abronia fimbriata)            to the

20   CPI in Iowa .

21         Overt Act No . 95 :      On or about June 26 , 2021 , defendant JOSE

22   PEREZ caused Co - conspirator #5 to receive $2 , 390 via Venmo with the

23   notation "Payment in full        (10 . 00 sent earlier) for 2 . 2 or 1 . 3 proven

24   breeding group of 4 P . b . Belli and 2 B . yucatana , guaranteed live

25   and healthy delivery to me in Albuquerque , N. M. to be sent this

26   Monday , 06/28/21 via FedEx priority next morning delivery . "

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 1                                COUNTS TWO THROUGH TEN

 2                                (18   u. s .c .   §§   545 , 2]

 3                                [DEFENDANT JOSE PEREZ]

 4         On or about the dates listed below, in Ventura County, within

 5   the Cent ra l District of California , and elsewhere , defendant JOSE

 6   PEREZ fraudulently and knowingly imported and brought into the United

 7   States, and willfully caused to be imported and brought into the

 8   United States , merchandise , and aided and abetted the importation and

 9   bringing into the United States of merchandise , specifically the

10   wildlife listed below, contrary to law , and received, concealed,

11   bought , sold, and facilitated the transportation , concealment , and

12   sale of such merchandise afte r importation, and willfully caused and

13   aided and abetted the same , knowing the merchandise to have been

14   imported and brought i nto the United States contrary to law , by,

15   among other things , knowingly failing to make the required

16   declaration, fa i ling to obtain the required authorization to import

17   such merchandise , and fai l ing to transport such merchandise through

18   des ignated ports of entry into the United States , in violation of

19   Title 16 , United States Code , Sections 1538(c ) ( 1 ) , 1538 (e ) , and

20   1540(b) , and Title 50 , Code of Federal Regulations , Sections 14 . 11 ,

21   14 . 52 , and 14 . 61 .

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      COUNT     DATES                   WILDLI FE
23
        TWO     April 26 , 2018         Yucatan box turtles ( Terrapene
24
                                        carolina yucatana)
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1                                    WILDLIFE
      COUNT   DATES
2
      THREE   May 2 , 2018 , to      Fly River turtles (Carettochelys
3                                    insculpta) , Four - eyed turtles (Sacalia
              May 9 , 2018
 4                                   quadriocellata) , Reeves turtles
                                     (Mauremys reevesii) , Black Breasted
 5                                   Hill Turtles (Geoemyda spengleri) , Big
                                     Headed turtles (Platysternon
 6                                   megacephalum)
 7                                   Yucatan box turtles (Terrapene
       FOUR   May 22 , 2018
                                     carolina yucatana)
 8
       FIVE   September 26,          Crocodiles (Crocodylidae sp . ) and
 9
              2018 , to September    Yucatan box turtles (Terrapene
10            27 , 2018              carolina yucatana)

11     SIX    October 7 , 2018 ,     Spotted box turtles   (Terrapene
              to October 8 , 2018    nelsoni)
12
      SEVEN   October 25 , 2018      Mexican beaded lizards (Heloderma
13                                   horridum)
14                                   Mexican box turtles (Terrapene
      EIGHT   November 1, 2018
15                                   carolina Mexicana)

16     NINE   November 20 ,   2018   Yucatan box turtles (Terrapene
                                     carolina yucatana)
17
        TEN    December 4 , 2018 ,   Mexican beaded lizards (Heloderma
18             to December 5 ,       horridum)
               2018
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1                                COUNTS ELEVEN AND TWELVE

2                     [16 U. S . C . §§ 3372(a) (1) and 3373(d) (1) (B)]

3                                 [DEFENDANT JOSE PEREZ]

4         On or about the dates listed below , in Ventura County, within

5    the Central District of California , and elsewhere, defendant JOSE

 6   PEREZ knowi ngly engaged in conduct that involved the sa l e and

7    purchase of , the offer of sale and purchase of, and the intent to

 8   sell and purchase wildlife with a marke t value in excess of $350 , and

 9   knowingl y impor ted , transported , sold, received , acquired , and

10   purchased wi ldlife, specifically the wildlife listed below, knowing

11   that such wildlife was transported , that is imported, in violation of

12   the l aws , treaties , and regulations of the United States , including

13   Title 16, United States Code , Sections 1538(c) (1) , 1538(e) , and

14   1540(b) , and Tit l e 50 , Code of Federal Regulations , Sections 14 . 11 ,

15   14 .52, and 1 4.61 .

16             DATE                     WILDLIFE
      COUNT
17
      ELEVEN   May 24 , 2018            Four - eyed turtles ( Sacalia
18
                                        quadriocellata)
19

20    TWELVE   J une 22 , 2021          Lizards (Abronia fimbriata)

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 1                               FORFEITURE ALLEGATION ONE

 2              [ 18 U. S . C . § 9 81 (a) ( 1) (C) and 2 8 U. S . C . § 2 4 61 ( c) ]

 3        1.    Pursua nt to Rule 32 . 2 of the Federal Rules of Criminal

 4   Procedure , notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence , pursuant to Title 18 ,

 6   United States Code , Section 98l(a) (1) (C) and Title 28 , United States

 7   Code , Section 246l(c) , in the event of any defendant ' s conviction of

 8   the offense set forth in Count One of this Indictment .

 9        2.    Any defendant so convicted shall forfeit to the United

10   States o f America the following :

11              (a)   All right , title , and interest in any and all

12   property , real or personal , constituting , or derived from , any

13   proceeds traceable to the offense ; and

14              (b)   To the extent s uch property i s not available for

15   forfeiture , a sum of money equal to the total value of the property

16   described in subparagraph (a) .

17        3.    Pursuant to Title 21 , United States Code , Section 853(p) ,

18   as incorporated by Tit le 28 , United States Code , Section 2 4 6l(c) , any

19   defendant so convicted shall forfeit substitute property , up to the

20   value of the property described in the preceding paragraph if , as the

21   result of any act or omission of said defendant , the property

22   described in the preceding paragraph or any p ortion thereof (a)

23   cannot be located upon the exercise of due diligence ;                   (b) has been

24   transferred , sold to , or deposited with a third party ;                  (c) has been

25   placed beyond the jurisdiction of the court ;                (d) ha s been

26   substantially diminished in value ; or (e) has been commingled with

27   other property that cannot be divided without difficulty .

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1                             FORFEITURE ALLEGATION TWO

2                             [18 U. S . C . §§ 982 and 545]
3         1.    Pursuant to Rule 32 . 2(a) of the Federal Rules of Criminal
4    Procedure , notice is hereby given that the United States of America
5    will seek forfeiture as part of any sentence , pursuant to Title 18 ,
 6   United States Code , Sections 982 and 545 , and Title 28 , United States
7    Code , Section 246l(c) , in the event of the defendant ' s conviction of
 8   the offenses set forth in any of Counts Two through Ten of this
 9   Indictment .
10        2.    The defendant , if so convicted, shall forfeit to the United
11   States the following :
12              (a) All right , title, and interest in any and all property ,
13   real or personal constituting, or derived from, any proceeds
14   obtained, directly or indirectly, as a result of each such offense ;
15              (b)    Any and all merchandise introduced into the United

16   States in violation of Title 18 , United States Code , Section 545 , or

17   the value thereof ; and
18               (c)   To the extent such property is not available for
19   forfeiture , a sum of money equal to the total value of the property
20   described in subparagraphs (a) and (b) .
21         3.   Pursuant to Title 21 , United States Code, Section 853(p) ,
22   as incorporated by Title 18 , United States Code , Section 982(b) and
23   Title 28 , United States Code , Section 246l(c) , the defendant , if so
24   convicted , shall forfeit substitute property, up to the total value
25   of the property described in the preceding paragraph if , as the
26   result of any act or omission of the defendant , the property
27   described in the preceding paragraph, or any portion thereof : (a)
28   cannot be located upon the exercise of due diligence ;       (b) has been
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 1   transferred , sold to or deposited with a third party ;      (c) has been

 2   placed beyond the jurisdiction of the Court ;      (d) has been

 3   s u bstantially diminished in value ; or (e) has been commingled with

 4   other property that cannot be divided without difficulty .

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 1                            FORFEITURE ALLEGATION THREE

 2                   (16 U. S . C . § 3374 and 28 U. S . C . § 246l(c)]

 3        1.    Pursuant to Rule 32 . 2 of the Federal Rules of Criminal

 4   Procedure , notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence , pursuant to Title 16 ,

 6   United States Code , Section 3374 and Title 28 , United States Code ,
     Section 246l(c} , in the event of the defendant ' s conviction of the
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     offenses set forth in either of Counts Eleven or Twe lve of this
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     Indictment .
 9
          2.    The defendant , if so convicted, shall forfeit to the United
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     States the following :
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                (a) All fish or wildlife or plants imported , exported ,
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     transported , sold, received, acquired , or purchased contrary to the
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     provisions of Title 18 , Section 3372 or any regulation issued
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     pursuant thereto ;
15              (b} All vessels , vehicles , aircraft , and other equipment
16   used to a id in any such offense ; and
17              (c} To the extent that such property is not available for
18   forfeitu r e , a sum of money equ al to the total value of the property
19   described in subparagraphs (a) and (b ) .

20        3.    Pursuant to Title 21 , United States Code , Section 853(p) ,

21   as incorporated by Title 28 , United States Code , Section 246l(c), the

22   defendant , if so convicted, shall forfeit substitute property if , by

23   any act or omission of the defendant , the property described in the

24   preceding paragraph, or any portion thereof :        (a) cannot be located

25   upon the exercise of due diligence ;        (b) has been transferred , sold

26   to , or deposited with a third party ;       (c) has been placed beyond the

27   jurisdiction of the court ;     (d) has been substantially diminished in

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 1   value ; or (e) has been commingled with other property that cannot be

 2   divided without difficulty .

 3                                          A TRUE BILL

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 5
                                                      /S /
 6                                             Foreperson

 7

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